 Case: 1:24-cv-01689 Document #: 41 Filed: 08/28/24 Page 1 of 2 PageID #:1201

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Hong Kong Leyuzhen Technology Co. Limited, et al.
                                                           Plaintiff,
v.                                                                      Case No.:
                                                                        1:24−cv−01689
                                                                        Honorable Andrea
                                                                        R. Wood
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified in Schedule A Hereto
                                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 28, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic motion
hearing held on 8/28/2024. Only Plaintiff appeared. For the reasons stated on the record,
Plaintiff's motion for preliminary injunction [33] is granted. Enter Preliminary Injunction
Order. The Clerk's Office is directed to unseal the temporary restraining order [29].
Plaintiff's counsel is ordered to add ALL Defendant names listed in the Schedule A to the
docket within three business days, instructions can be found on the court's website
https://www.ilnd.uscourts.gov/_assets/_documents/_ forms/_cmecf/pdfs/v60/Add_Term
inate_Instructions.pdf. Motion by counsel for leave to withdraw [37] is granted. Attorney
Yasavin N. Wijetilleke is terminated as counsel of record. Telephonic status hearing set
for 10/17/2024 at 9:30 AM. To ensure public access to court proceedings, members of the
public and media may call in to listen to telephonic hearings. The call−in number is (888)
557− 8511 and the access code is 3547847. Counsel of record will receive an email 30
minutes prior to the start of the telephonic hearing with instructions to join the call.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court−issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
 Case: 1:24-cv-01689 Document #: 41 Filed: 08/28/24 Page 2 of 2 PageID #:1202


For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
